184 F.2d 438
    87 U.S.P.Q. 115
    CAT'S PAT RUBBER COMPANY, Inc. Appellant,v.Charles JENCO and Catherine Jenco Doing Business as NojarRubber Company.
    No. 10180.
    United States Court of Appeals Third Circuit.
    Argued Oct. 12, 1950.Decided Oct. 16, 1950.
    
      C. Willard Hayes, Washington, D.C.  (McCarter, English &amp; Studer, Newark, N.J., Simon E. Sobeloff, Baltimore, Md., Cushman, Darby &amp; Cushman, Washington, D.C., on the brief), for appellant.
      J. Pierre Kolisch, New York City (Paul Kolisch, New York City, on the brief), for appellees.
      Before ALBERT LEE STEPHENS, MARIS and McLAUGHLIN, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal from the judgment of the district court dismissing the plaintiff's complaint alleging infringement of certain of its design patents and unfair competition by the defendants.  The district court concluded that the design patents in question were invalid for want of invention and also concluded that the defendants were not guilty of unfair competition.  Our examination of the record satisfies us that these conclusions were right for the reasons stated in the opinion of the district court filed by Chief Judge fake, D.C., 87 F.Supp. 662.
    
    
      2
      The judgment of the district court will be affirmed.
    
    